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7                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF IDAHO
8
       FRIENDS OF THE CLEARWATER and
9      ALLIANCE FOR THE WILD ROCKIES,
                                                           NO. 3:20-cv-00322-BLW
10                                       Plaintiffs,
11
                 v.                                        DECLARATION OF JEREMIAH W.
12                                                         BUSCH
       UNITED STATES FOREST SERVICE;
13     VICKI CHRISTIANSEN, Chief of the
       Forest Service; CHERYL PROBERT,
14
       Forest Supervisor for the Nez Perce-
15     Clearwater National Forests; LEANNE
       MARTEN, Regional Forester for Region 1
16     for the U.S. Forest Service; and NOAA-
       FISHERIES,
17
                                       Defendants.
18

19          I, JEREMIAH W. BUSCH, declare that the following is true and correct:

20                                            INTRODUCTION
21          1.        I am a Professor in the School of Biological Sciences at Washington State University.
22
     Since 2001, I have conducted independent research on the genetics of natural populations, with a
23
     specific focus on the largely negative impacts of inbreeding and population bottlenecks on organisms.
24
     In the last several years, I have published theoretical and empirical research on the fate of harmful
25

26   mutations in small or bottlenecked populations (Layman and Busch 2018; Koski et al. 2019). While

                                                                                    Bricklin & Newman, LLP
                                                                                            Attorneys at Law
                                                                                      1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 1                                                  Seattle WA 98101
                                                                                           Tel. (206) 264-8600
                                                                                           Fax. (206) 264-9300
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1    most of my work concerns plant populations, the biological principles are completely general and
2    apply to all populations in nature, including fish and mammals (Hedrick and Kalinowski 2000;
3
     Frankham 2005). In this declaration, I aim to explain the scientific consensus on how small
4
     populations are more sensitive to environmental and genetic threats than larger ones, and how very
5
     small populations are exposed to a greater risk of extinction. I then interpret recent declines of
6

7    steelhead in light of these basic principles.

8                        PERSONAL BACKGROUND AND QUALIFICATIONS

9            2.      I hold a B.A. degree in Biology from the University of Chicago (2000) and a Ph.D. in
10   Evolutionary Biology from Indiana University (2005). After receiving my Ph.D., I worked as a
11
     Tomlinson Postdoctoral Fellow at McGill University in Montreal, Canada from 2005-2008.
12
             3.      I am currently a Professor in the School of Biological Sciences at Washington State
13
     University, where I have been teaching and conducting scientific research since 2008. At Washington
14

15   State University, I teach a single class each semester. I teach a graduate student course (Introduction

16   to Population Genetics) in fall and a course required for undergraduate biology majors (Principles of

17   Organic Evolution) in spring. I have also taught additional courses at the graduate level: Molecular
18
     Ecology and Phylogeography, and Quantitative Toolkit for Biologists.
19
             4.      A major component of my work at Washington State University involves mentoring
20
     students in the conduct and publication of original research. Specifically, six graduate students have
21
     received degrees under my supervision (3 Ph.D., 3 M.S.), with three additional students currently
22

23   seeking a Ph.D. in the laboratory. I have also served as a committee member for 36 graduate students

24   (20 Ph.D., 16 M.S.). This mentoring has included students outside of my own department at
25   Washington State University (Anthropology, Entomology, Mathematics, and Plant Pathology). I have
26
     also mentored 10 undergraduates in the conduct of research.
                                                                                     Bricklin & Newman, LLP
                                                                                            Attorneys at Law
                                                                                      1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 2                                                  Seattle WA 98101
                                                                                           Tel. (206) 264-8600
                                                                                           Fax. (206) 264-9300
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1            5.      I often review the merits of scientific arguments made in papers and grant proposals in
2    the fields of Evolutionary Biology and Ecology. I am an Associate Editor of Evolution, a leading
3
     journal in the field of Evolutionary Biology. In this capacity, I solicit expert reviewers to judge the
4
     scientific merits of research papers and make recommendations toward the rejection or eventual
5
     acceptance of these works. My first service in this capacity ranged from 2016-2018 and my current
6

7    service spans 2020-2022. I have also served on nine federal advisory panels (seven for the National

8    Science Foundation and two for the United States Department of Agriculture), where I made more

9    than 100 recommendations on the funding of scientific research proposals.
10           6.      I have published 38 peer-reviewed articles in scientific journals on the topics of
11
     population genetics, ecology, and evolution. I have also published two non-peer-reviewed
12
     commentaries on the role of inbreeding and population bottlenecks on the viability and evolution of
13
     populations. I attach my CV as Exhibit A to my declaration with a full list of these articles.
14

15           7.      This declaration is based upon my knowledge and experiences in the study of natural

16   populations, particularly those that are small or inbred.

17                 EXTINCTION THREATS IN SMALL NATURAL POPULATIONS
18
             8.      Species that go extinct tend to have few individuals. The same principle applies to the
19
     local extirpation of populations or the loss of entire metapopulations at regional scales (Reiman et al.
20
     1993). The leading factor causing extinction in natural populations is the degradation or loss of habitat
21
     (Butchart et al. 2010). At its core, species and populations decline in abundance whenever the birth
22

23   rate of new individuals is insufficient to offset the death rate of individuals (Lande 1993; Reiman et

24   al. 1993). Not surprisingly, there has been much interest in understanding and mitigating the decline
25   of species and populations in the fields of conservation biology and population ecology (McClure et
26
     al. 1993; Pimm et al. 1995; Butchart et al. 2010). It is important to note, however, that even if
                                                                                      Bricklin & Newman, LLP
                                                                                              Attorneys at Law
                                                                                        1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 3                                                    Seattle WA 98101
                                                                                             Tel. (206) 264-8600
                                                                                             Fax. (206) 264-9300
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1    population declines can be stopped, small populations face additional threats to their continued
2    persistence (Hutchings 2015). It is my goal in this section to describe those threats, which will be
3
     followed by material on small populations of steelhead in the Clearwater major population group.
4
             9.      In comparison to large populations, small populations suffer unique threats because
5
     they are more vulnerable to random events (Lande 1988). Random fluctuations in environmental
6

7    conditions are a fact of life, and some environmental catastrophes that cause mass extinction are

8    unpredictable (Sakamoto et al. 2016). While all populations experience unexpectedly harsh

9    environments from time to time (i.e., environmental stochasticity), it is more likely that all individuals
10   may fail to survive or reproduce in smaller populations (Lande 1993). Even if a small population
11
     survives through one or more difficult generations, additional threats are out there. In populations with
12
     very few individuals, it is possible that all offspring in a generation randomly belong to the same sex
13
     (i.e., demographic stochasticity). If all individuals are male or all individuals are female, the population
14

15   will fail to replace itself and become locally extirpated. Several famous examples of this process have

16   made headlines, with the notable case of the Northern White Rhinoceros grabbing headlines this year

17   (Anderson 2021). There are two females left, and they are the last.
18
             10.     Small populations face additional genetic threats to their persistence (Lande 1988,
19
     1993). One of these threats is fast acting. With few individuals, offspring are often produced through
20
     some form of inbreeding, which nearly always reduces the viability of offspring in large-bodied
21
     vertebrates (Crnokrak and Roff 1999; Keller and Waller 2002). These effects may become evident
22

23   after a single generation of close inbreeding in captivity and wild settings (Frankham 2005; Bittles and

24   Black 2010). Inbreeding is harmful because two copies of the same dysfunctional mutation become
25   concentrated in the same offspring. While mutations tend to be recessive and therefore not expressed,
26
     inbreeding expresses these mutations. Mutations that are normally rare in large populations can even
                                                                                         Bricklin & Newman, LLP
                                                                                                Attorneys at Law
                                                                                          1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 4                                                      Seattle WA 98101
                                                                                               Tel. (206) 264-8600
                                                                                               Fax. (206) 264-9300
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1    be found at high frequency in small populations (Hedrick and Kalinowski 2000; Keller and Waller
2    2002). Over longer time scales, genetic variation is also lost more quickly in smaller populations, a
3
     phenomenon known as genetic drift (Lande 1988; Frankham 2005). Genetic drift happens because
4
     every generation involves the making of offspring from genetic variation in their parents. In small
5
     populations where few offspring are made, there is a greater chance that some of that variation will be
6

7    lost in translation. Since genetic variation is necessary for populations to adapt, smaller populations

8    are expected to have a reduced capacity to respond to future environmental change (Carlson et al.

9    2008).
10              SNAKE RIVER BASIN STEELHEAD AND THE CLEARWATER MPG
11
              11.   In the Pacific Northwest, many salmonids have declined in the face of habitat
12
     degradation and loss, dam building, hatchery-associated declines, human harvest, and additional
13
     threats (Reiman et al. 1993; McClure et al. 2003). Steelhead (Onchorynchus mykiss) are fish closely
14

15   related to rainbow trout that are anadromous, meaning they migrate to the ocean for a portion of their

16   life cycle before returning to spawn in freshwater streams. The Snake River Basin steelhead distinct

17   population segment (DPS) was listed under the Endangered Species Act in 1997 and this status was
18
     reaffirmed in 2016 (NOAA 2016 5-year review). Recent declines in the abundance of Snake River
19
     Basin steelhead during the 2018-2019 migration have raised serious new concerns (Barry Thom
20
     Letter, 2019). Specifically, the regional administrator of NOAA Fisheries informed the U.S. Army
21
     Corps of Engineers that an Early Warning Indicator for Snake River Basin steelhead had been
22

23   triggered because of the magnitude of declines in abundance (Barry Thom Letter, 2019).

24            12.   The Snake River steelhead distinct population segment (DPS) is composed of five
25   major population groups (MPGs; Lolo Creek Insects & Disease Project Record of Decision 2019). In
26
     this declaration, the Clearwater MPG is of relevance since the Lolo Insect & Disease Project involves
                                                                                     Bricklin & Newman, LLP
                                                                                            Attorneys at Law
                                                                                      1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 5                                                  Seattle WA 98101
                                                                                           Tel. (206) 264-8600
                                                                                           Fax. (206) 264-9300
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1    road building, culvert replacement, and timber harvest in the Clearwater watershed (Lolo Insects &
2    Disease Project Record of Decision 2019). Within this MPG, the Lolo Creek population is found
3
     within the entire Lolo Creek watershed and has been classified as a major spawning area (Espinosa
4
     and Lee 1991). The Forest Service is “reasonably certain” that proposed activities will negatively
5
     influence steelhead caused by the Lolo Insects & Disease Project (Lolo Insects & Disease BO Revised
6

7    2019). These impacts relate to elevated sediment turbidity caused by road construction, culvert

8    replacements, and harvest activities. The question is therefore not whether negative impacts will occur,

9    but instead whether the extent of these impacts threaten the Lolo Creek steelhead population.
10                     STEELHEAD IN LOLO CREEK AND NEARBY STREAMS
11
             13.     The Lolo Creek steelhead population “must stay at a Maintained status (moderate risk)
12
     or higher in terms of viability rating to achieve recovery” (p. 28, Table 7, Lolo Creek Insects & Disease
13
     Project Record of Decision 2019). At face value, this appears problematic seeing how the current
14

15   status of the population is listed as “High Risk” (p. 28, Table 7, Lolo Creek Insects & Disease Project

16   Record of Decision 2019). Regardless, there is scant recent information on the number of steelhead in

17   Lolo Creek. The data that do exist are clear, however, in showing that few adults are found in the Lolo
18
     Creek watershed. In 1987, 88 gravel nests containing eggs (redds) were identified in Lolo Creek, and
19
     estimates of fish at various life history stages were low in 2007, 2009, 2011, and 2013
20
     (24_002_2012LoloSummaryFishReport.pdf, pp. 2-3; Lolo Creek Insects & Disease Project Record of
21
     Decision 2019).
22

23           14.     Yearly surveys of adult steelhead fish have been conducted outside the Lolo Creek

24   watershed but nearby within the Clearwater MPG (IDFG, 2019). Specifically, adult abundance has
25   been estimated with capture of fish in weirs for more than one year at four locations: Big Bear Creek,
26
     Fish Creek, Crooked River, and the East Fork of the Crooked River (IDFG, 2019). Of these data
                                                                                      Bricklin & Newman, LLP
                                                                                              Attorneys at Law
                                                                                        1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 6                                                    Seattle WA 98101
                                                                                             Tel. (206) 264-8600
                                                                                             Fax. (206) 264-9300
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1    collected, The Fish Creek watershed is closest to the Lolo Creek watershed and is of similar geographic
2    size (Espinosa and Lee 1991; IDFG, 2019). A plot of adult abundance shows several compelling facts
3
     (Figure 1; data from Appendix A, IDFG, 2019). First, steelhead abundance fluctuates over time with
4
     populations infrequently having more than 200 adults. Second, declines in steelhead have occurred in
5
     all sampled locations since 2016 (Figure 1, dashed line). It stands to reason that steelhead abundance
6

7    in Lolo Creek is of similar magnitude to the trends reported elsewhere in the Clearwater MPG.

8

9

10

11                                                                   Figure 1. The abundance of adult
                                                                     steelhead in populations of the
12                                                                   Clearwater MPG. The vertical dashed
                                                                     line denotes 2016, with declines in
13                                                                   abundance at all four locations since
                                                                     that time. Estimates are generated
14
                                                                     using accepted methodologies based
15                                                                   on samples collected at each location
                                                                     (IDFG 2019).
16

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                                               CONCLUSIONS
20
            15.     Even if one ignores recent declines in abundance (Figure 1), it is evident that few adult
21
     steelhead are found in populations of the Clearwater MPG. Unfortunately, useful data on steelhead
22
     abundance in Lolo Creek are hard to find, though they would be extremely valuable. Given the
23

24   available evidence regarding small populations of adult steelhead in the Clearwater MPG, is steelhead

25   persistence in Lolo Creek likely to be substantially influenced by the incidental take acknowledged in
26   the Lolo Insects & Disease Project (Lolo Insects & Disease BO Revised 2019)? Prospects for the

                                                                                     Bricklin & Newman, LLP
                                                                                             Attorneys at Law
                                                                                       1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 7                                                   Seattle WA 98101
                                                                                            Tel. (206) 264-8600
                                                                                            Fax. (206) 264-9300
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1    general persistence of small salmonid populations has been explicitly considered by the Forest Service
2    (Reiman et al. 1993). In general, the persistence of isolated salmonid populations appears to be
3
     relatively unaffected as long as populations exceed 100 individuals (Figure 2; from Reiman et al.
4
     1993). This prediction holds true for populations regardless of variation in the annual growth rate.
5
     However, once populations number less than 50 individuals, prospects for the persistence of
6

7    populations decline precipitously (Figure 2).

8           16.     While many of the low-abundance steelhead populations in the Clearwater MPG

9    clearly merit classification under the same “High” overall viability risk category, this does not mean
10   that populations with 10-50 individuals have the same extinction risk as populations with 500-1,000
11
     individuals (Figure 2). There is also the possibility that extinction threats can be offset by the
12
     connectivity of nearby steelhead populations to the Lolo Creek population through the straying of
13
     migrating adults (Reiman et al. 1993). Nevertheless, the smallest populations are fundamentally more
14

15   vulnerable to loss, and such an outcome in Lolo Creek would further dim hopes for the continued

16   viability of steelhead in the Clearwater MPG. While negative impacts on steelhead caused by the Lolo

17   Insects & Disease Project are “reasonably certain,” their impacts on the potential extinction of
18
     steelhead in Lolo Creek requires a thorough investigation that is absent in the record of decision (Lolo
19
     Insects & Disease Record of Decision, 2019). Such a careful reconsideration of the situation in Lolo
20
     Creek would align with recent suggestions made by NOAA for the broader steelhead Snake River
21
     DPS (Barry Thom Letter, 2019).
22

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                                                                                      Bricklin & Newman, LLP
                                                                                             Attorneys at Law
                                                                                       1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 8                                                   Seattle WA 98101
                                                                                            Tel. (206) 264-8600
                                                                                            Fax. (206) 264-9300
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26   Layman, N.C. and J.W. Busch. 2018. Bottlenecks and inbreeding depression in autotetraploids.
           Evolution 72:2025-2037.
                                                                                    Bricklin & Newman, LLP
                                                                                           Attorneys at Law
                                                                                     1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 10                                                Seattle WA 98101
                                                                                          Tel. (206) 264-8600
                                                                                          Fax. (206) 264-9300
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                                                                                   Bricklin & Newman, LLP
                                                                                          Attorneys at Law
                                                                                    1424 Fourth Avenue, Suite 500
      DECLARATION OF JEREMIAH W. BUSCH - 11                                               Seattle WA 98101
                                                                                         Tel. (206) 264-8600
                                                                                         Fax. (206) 264-9300
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                      EXHIBIT A
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Jeremiah W. Busch


Curriculum Vitae: Jeremiah W. Busch – One Page Executive Summary

1. Professional Experience and Appointments
     Tenured or tenure track faculty at Washington State University (2008-present)
     Visiting Professor, University of Kansas (remote sabbatical, 2020-2021)
     Visiting Associate Professor, Middle Tennessee State U. (sabbatical, spring 2015)
     Postdoc in Population Genetics at McGill University (2005-2008)
     Ph.D. in Evolution (Indiana University, 2005), B.A. in Biology (U. Chicago, 2000)

2. Research Productivity and Grantsmanship
     Senior-authored collaborative papers and papers with postdocs and graduate students as
       first authors
     40 publications in journals such as Current Biology, Molecular Biology and Evolution,
       Molecular Ecology, New Phytologist, Evolution Letters, and Evolution
     A total of 24 invited talks at university departments and international meetings, with 11
       since promotion to Associate Professor
     Ongoing external support since 2009; lead or sole PI on 5 NSF grants totaling $967,726
       and co-PI on 2 additional grants (1 NSF, 1 USDA) totaling $369,357

3. Student Training
     Major advisor to 2 postdoctoral researchers, 9 graduate students (6 Ph.D., 3 M.S.), and 10
       undergraduate researchers
     2 Ph.D. students both attained NSF Doctoral Dissertation Improvement Grants (DDIGs)
       and highly competitive research assistant funds during their last year of dissertation
     Committee member for 36 graduate students at WSU (20 Ph.D., 16 M.S.) and 1 as
       external committee member (U. Toronto). WSU students are from many departments
       (Biology, Entomology, Plant Pathology, Anthropology, and Mathematics)
     Postdocs and graduate students have all attained positions in biological research or
       academia. Of my undergraduate researchers, most now work in graduate/medical school,
       research laboratories, clinical settings, industry, or conservation non-profits

4. Teaching
     Since at WSU, have prepared and taught 5 different courses at graduate or undergraduate
       levels and have co-taught 3 graduate seminars
     Regularly teach a core graduate course (20+ students/semester) and a large undergraduate
       course required for Biology and Zoology majors (135+ students/semester)
     Courses have emphasized sound logical reasoning, data literacy, careful analysis, and
       immersion in science as a process
     Led the development of a new graduate course. This effort was made to better train
       graduate students in the toolkit of skills essential for independent research

5. Service
     Associate editor of 3 journals (Evolution, American Journal of Botany, and International
       Journal of Plant Sciences); Advisory Board member at New Phytologist
     Served on 9 scientific advisory panels at federal agencies (7 NSF, 2 USDA)
     Served as the Interim Associate Director of Graduate Studies in SBS (spring 2016)
     Chaired 4 committees at departmental level and served on 16 additional committees at
       the departmental or university level
     Invited to organize talks in a “Spotlight Session” at Evolution Society Meetings

                                                                                                  1
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Jeremiah W. Busch


RESEARCH EXPERTISE
Evolutionary biology, population genetics, biogeography, and plant reproduction

EDUCATION
2005-2008 Postdoc, Population genetics, McGill University, Montreal, Canada
2005      Ph.D., Evolution, Indiana University, Bloomington, IN
2000      A.B., Biology (with Honors), University of Chicago, Chicago, IL

PROFESSIONAL ACADEMIC EXPERIENCE
2020-present Professor, School of Biological Sciences, Washington State University
2014-2020    Associate Professor, School of Biological Sciences, Washington State University
2008-2014    Assistant Professor, School of Biological Sciences, Washington State University
2005-2008    Tomlinson Postdoctoral Fellow, Department of Biology, McGill University
2000-2005    PhD Student, Department of Biology, Indiana University

PUBLICATIONS
41 Publications, Google scholar: 1,683 total citations, h-index=21, i10 statistic=30

Published manuscripts, including those in review
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        vivipara (Polygonaceae). American Journal of Botany 102:1174-1186.

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       and relationships of constitutive and herbivore-induced glucosinolates, trypsin inhibitors,
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RESEARCH FUNDING
Total Funds to WSU as PI or co-PI: $1,337,083; Total Funds to Busch: $967,726
Since tenure: PI on 3 NSF grants +1 REU; co-PI on 1 NSF grant ($556,796 to Busch)
Since WSU: PI on 5 NSF grants +1 REU; co-PI on 2 grants (1 NSF, 1 USDA)

 Project                                Status      Role           Source   WSU $      Busch $    Years
 OPUS MCS: Is self-fertilization an     Awarded     Sole PI        NSF      $197,724   $197,724   2019-
 evolutionary dead end? Artificial                                                                2021
 selection of a key outcrossing trait
 and its consequences in partially
 selfing populations
 Collaborative Research: Does           Completed   Sole PI        NSF      $342,000   $342,000   2015-
 genetic load drive mating system                                                                 2019
 evolution? Tests in an explicit
 historical context
 MRI: Acquisition of a total            Completed   One of 5 co-   NSF      $125,861   $0         2018
 reflection X-ray fluorescence                      PIs
 spectrometer to enable ultra-trace
 element analysis at Washington
 State University
 Collaborative Research REU: Does       Completed   Sole PI        NSF      $6,975     $6,975     2016
 genetic load drive mating system
 evolution? Tests in an explicit
 context
 Dissertation Research: Empirical,      Completed   Lead PI        NSF      $10,097    $10,097    2016-
 theoretical and comparative tests of                                                             2018
 major hypotheses for the evolution
 of self-fertilization in flowering
 plants


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 Dissertation Research: Testing         Completed   Lead PI      NSF      $19,630     $19,630    2013-
 fundamental constraints on species                                                              2015
 ranges in the endemic plant
 Mimulus bicolor
 Collaborative Research: Integrating    Completed   Sole PI      NSF      $370,421    $370,421   2011-
 gene and individual level selection                                                             2017
 to understand the evolution of self-
 fertilization in flowering plants

 Collaborative Research UBM: UI-        Completed   One of 6     NSF      $200,000    $0         2010-
 WSU program in undergraduate                       WSU senior                                   2016
 mathematics and biology                            personnel
 New Faculty Seed Grant: Is self-       Completed   Sole PI      WSU      $8,423      $8,423     2010-
 fertilization an evolutionary dead                                                              2011
 end? An ideal test of the hypothesis

 Origins and spread of the northern     Completed   co-PI        USDA     $255,952    $12,456    2009-
 fowl mite: a landscape genetics                                                                 2013
 approach


TEACHING
Lecturer, Biology 405 Principles of Organic Evolution
       Spring 2014, 2019, 2020
Co-Lecturer, Biology 405 Principles of Organic Evolution (50% contribution)
       Spring 2010, 2011, 2012, 2013, 2016, 2017, 2018
Lecturer, Biology 519 Introduction to Population Genetics
       Fall 2008, 2009, 2011, 2013, 2014, 2015, 2017, 2018, 2019
Lecturer, Biology 564 Molecular Ecology and Phylogeography
       Fall 2012, 2016
Co-Lecturer, Biology 571 Quantitative Toolkit for Biologists (40% contribution; 7 faculty)
       Spring 2014, 2016
Seminar Co-Leader, Biology 589 Selection of Quantitative Traits (Walsh and Lynch)
       Spring 2020
Seminar Co-Leader, Biology 589 Biologist's Guide to Mathematical Modeling (Otto and Day)
       Fall 2016
Seminar Co-Leader, Biology 589 Elements of Evolutionary Genetics (D. and B. Charlesworth)
       Spring 2013
Seminar Leader, Biology 589 The Origin of Species (Darwin)
       Spring 2011
Lecturer, Biology 393 Seminar I
       Fall 2010

MENTORING *co-author on peer-reviewed publication
Postdoctoral research associates                                        Currently
      Nathan Layman, Ph.D. (2018)*                                      Postdoc, U. Idaho
      Dena Grossenbacher, Ph.D. (2015-2016)*                            Asst Prof., Cal Poly
Graduate students
      Shelby Tisinai, Ph.D. (2020-present)
      Evan Hilpman, Ph.D. (2015-present)*
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     Carly Prior, Ph.D. (2015-present)*
     Jordan Rainbow, M.S. (2018-2020)                             Lab. Tech., WSU
     Nathan Layman, Ph.D. (2012-2018)*                            Postdoc, U. Idaho
     Fernando Villanea, Ph.D. (2015-2016)*                        Asst Prof., CU Boulder
     Andrea Dixon, Ph.D. (2009-2014)*                             Research Assoc, Kans. St. U.
     Nicholas Norton, M.S. (2012-2014)*                           Exec. Dir., WA Land Trust
     Michael Joseph, M.S. (2010-2012)*                            Lab. Tech., U. Michigan
Committee service
     20 Ph.D. students at WSU
     16 M.S. students at WSU

RESEARCH PRESENTATIONS
Invited talks, last 5 years
        University of Kansas (spring 2021 semester)
        University of Stockholm, Sweden (cancelled, Covid-19)
        Middle Tennessee State University (cancelled, Covid-19)
        Indiana University
        University of Memphis
        University of Montana

Talks at professional meetings, last 5 years
       International Botanical Congress, Shenzhen, China
       Midwest Population Genetics Meeting, Minneapolis, MN
       Evolution Society Meetings, Portland, OR




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